                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

               -vs-                                                  Case No. 08-CR-53

JERMAINE CARTER,

                              Defendant.


                                   DECISION AND ORDER


               Defendant Jermaine Carter (“Carter”) filed a pro se motion for reduction of sentence

pursuant to18 U.S.C. §3582(c)(2) under a recent amendment to the Sentencing Guidelines.

               Because Carter’s guideline sentencing range is not affected by the recent amendment

to the Sentencing Guidelines Carter’s request for a reduction of sentence is futile. Accordingly the

Court must dismiss his petition.

               NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED THAT:

               The motion for reduction of sentence is DENIED.

               Dated at Milwaukee, Wisconsin, this 6th day of June , 2012.



                                                     BY THE COURT:


                                                     __________________________
                                                     HON. RUDOLPH T. RANDA
                                                     U.S. District Judge



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